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10                        UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
13   DOUGLAS TROESTER, on behalf of           Case No. 2:12-cv-07677-CJC- (PJWx)
     himself, and all others similarly
14   situated,                                REPLY IN SUPPORT OF MOTION FOR
                                              CLASS CERTIFICATION
15                        Plaintiffs,
                                              Date:    January 27, 2020
16         v.                                 Time:    1:30 p.m.
                                              Crtrm:   7C
17   STARBUCKS CORPORATION, a
     Washington corporation; and DOES 1-      Judge:   Hon. Cormac J. Carney
18   50, inclusive,
                                              Date Action Filed: August 6, 2012
19                        Defendants.

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 1   I.    Introduction.
 2         It is undisputed that during the class period, Starbucks required shift supervisors
 3   to work off the clock at the end of closing shifts. Starbucks, without offering competent
 4   evidence, attempts now to dispute an aspect of the off the clock work that it previously
 5   had conceded. Previously, in this litigation Starbucks asserted that it could not record
 6   the time spent by class members running the “store close procedure” on the store
 7   computer. Starbucks made this assertion in order to show that one of the elements of the
 8   federal de minimis exception (that recording the time is not administratively feasible)
 9   was met.
10         Now to defeat certification, Starbucks attempt to change its position, arguing that
11   in fact the time spent on the “store close procedure” occurred on the clock and was paid
12   for. Starbucks’ evidence in support of its change in position is highly questionable.
13   Starbucks offers declarations from twenty current employees. Of these twenty, twelve
14   state that they do not recall the store close procedure. Three of the twenty declarants do
15   not mention the store close procedure at all. Of the five who do recall the store close
16   procedure, three state that they vaguely recall it, but cannot provide a time frame except
17   to state that it was “many years” ago. One declarant recalls it (without the caveat
18   “vaguely”) but cannot provide the time frame except to state that it was “many years
19   ago.” The failure to state the time frame is significant because without testimony as to a
20   time frame, we cannot be sure that the testimony applies to the class period. In fact, only
21   one of Starbucks’ declarants has a clear recollection of the store close procedure and
22   provides a time frame for it.
23         By contrast, Plaintiffs’ declarants all attest that during the class period, the store
24   close procedure occurred off the clock. Starbucks asserts that two of the declarants
25   “recanted.” But this claim is misleading. Declarant Amanda Barb testified that she
26   recalled doing the store close procedure on and off the clock. This is completely
27   consistent with her declaration which states that in 2010 when the STAR system was
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 1   introduced the process changed so that she had to run the procedure off the clock. That
 2   is not a recantation, instead Starbucks is cherry picking her testimony. The other
 3   declarant who supposedly recanted, testified that after being subpoenaed he read an
 4   online article about this lawsuit which made him “angry.” He then reflected on his
 5   experiences at Starbucks, and concluded based on his experiences with subsequent
 6   employers that he may have been paid for the time that he believed was off-the-clock.
 7         In any event, it is undisputed that shift supervisors had to perform work off-the-
 8   clock at the end of shifts. Starbucks manager Celia Cerna testified that this occurred,
 9   and Starbucks was aware of it. Starbucks tries to argue that the off-the-clock claim
10   raises predominating individualized issues. However, these issues go to damages and as
11   the Ninth Circuit has repeatedly held that individualized issues as to damages do not
12   defeat certification. Further under California law, Starbucks was legally required to keep
13   records of all hours worked. Starbucks is in effect trying to use its failure to keep legally
14   required records as a defense to class certification. Unsurprisingly, numerous courts
15   have rejected this tactic when tried by other defendant employers. The result should be
16   no different here. The motion for class certification should be granted.
17   II.    Except for Predominance, Starbucks Admits the Elements of Class
18   Certification are Met.
19         Notably, while opposing class certification, there are a number of elements for
20   class certification that Starbucks does not dispute are met. Starbucks does not argue that
21   the class is not numerous. Starbucks does not argue that Plaintiff is not a typical or
22   adequate class representative. Starbucks does not argue that Plaintiff’s counsel are not
23   adequate. Starbucks does not dispute that a class action is the superior method of
24   adjudicating this dispute. Instead, Starbucks’ sole basis for opposing class certification
25   is its view that common issues do not predominate over individual ones. That argument
26   is based on misapprehension of the facts and the law as set forth below. Class
27   certification should be granted.
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 1   III.   Starbucks is Contradicting the Representations Which Gained It Summary
 2   Judgment and the Later Grant of Summary Adjudication of the Waiting Time
 3   Penalties Claim.
 4          In opposing class certification, Starbucks asserts that during the class period, shift
 5   supervisors would upload store data on closing shifts and then clock out. In other words,
 6   Starbucks asserts that it could and did pay shift supervisors for this time. But Starbucks’
 7   motion for summary judgment based on the de minimis defense was based on the
 8   proposition that it could not pay shift supervisors for this time. As Starbucks explained
 9   to the Ninth Circuit:
10          In considering the first factor, the court held that the ‘administrative difficulty of
11          recording the additional time’ favors applying the de minimis defense. (citation)
12          The court agreed with Starbucks that its timekeeping system ‘could not
13          feasibly capture the time at issue in this case.’ (citation) This was because the
14          software Starbucks used allegedly required Troester to clock out before initiating
15          the store closing procedure – a task which lasted one minute on average.
16          Starbucks Appellee’s Opening Brief at 6 (emphasis added).
17          Similarly, Starbucks told the Ninth Circuit that: “The close store procedure which
18   lasted one minute on average – necessarily occurred after clocking out.” Id. at 16.
19          Starbucks made these representations because a critical factor in the de minimis
20   test is the “administrative difficulty of recording the additional time.” Lindow v. United
21   States, 787 F.3d 1057, 1063 (9th Cir. 1984) (de minimis factors are “(1) the practical
22   administrative difficulty of recording the additional time; (2) the aggregate amount of
23   compensable time; and (3) the regularity of the additional work.”)
24          Judge Feess’ grant of summary judgment was based on the assertion that
25   Starbucks could not feasibly pay for this time:
26          Here, Starbucks could not feasibly capture the time at issue in this case.
27          According to Plaintiff, the STAR software required him to clock out on the POS
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 1         registers before initiating the close store procedure on the MWS. Thus in order
 2         for the software to function, the close store procedure, which lasted one minute on
 3         average – had to occur after Plaintiff clocked out.
 4         Troester v. Starbucks Corp., 2014 WL 1004098 *4 (C.D. Cal. 2014).
 5   As Starbucks described Judge Feess’s decision to the California Supreme Court:
 6         In considering the first factor, the court held that the “administrative difficulty of
 7         recording the additional time’ also favors applying the de minimis defense. The
 8         court held that Starbucks timekeeping system ‘could not feasibly capture the time
 9         at issue in this case.’ This was in part because the software Starbucks used
10         allegedly required Troester to clock out before initiating the store closing
11         procedure.
12         Respondent’s Answer Brief on the Merits in Troester v. Starbucks Corporation,
13         California Supreme Court Case No. S234969 at 14.
14         Of course, if Plaintiff was wrong about how the STAR software operated, and it
15   in fact allowed employees to clock out after running the store closing procedure, it
16   would have been an easy matter for Starbucks to present evidence of this, including a
17   declarant familiar with the software, screenshots, and possibly other evidence. However,
18   Starbucks chose not to present such evidence with its motion for summary judgment and
19   to date has never presented such evidence.
20         This issue was in fact critical to Judge Feess’ decision to grant summary
21   judgment. The federal de minimis factors are: “(1) the practical administrative difficulty
22   of recording the additional time; (2) the aggregate amount of compensable time; and (3)
23   the regularity of the additional work.” Lindow supra at 1063. As Judge Fees explained:
24   “Where, as here, the first two factors under Lindow are satisfied, courts routinely apply
25   the de minimis defense even when a plaintiff alleges uncompensated time every day. . . .
26   Thus, although Plaintiff claims that he performed off-the-clock work during every
27   closing shift to which he was assigned . . . these facts are consistent with a finding that
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 1   the time spent closing the store was de minimis.” Troester, 2014 WL 1004098 *5. In
 2   other words, while the third Lindow factor – the regularity of the work – favored
 3   Plaintiff, Judge Feess believed that this did not matter if the first two factors were met.
 4           Starbucks now has done a reversal, and suggests based on vague declarations
 5   from current employees (most of whom testify that they do not recall the close store
 6   procedure) that it could and did pay for this time.
 7           Notably, Starbucks’ prior position, that it was not administratively feasible to pay
 8   for the time was also critical to Starbucks’ obtaining summary adjudication on the claim
 9   for waiting time penalties.
10           Starbucks argued that its conduct was not willful so as to permit an award of
11   waiting time penalties under Labor Code section 203. Starbucks stated to this Court
12   that:
13           Starbucks has presented reasonable defenses to Troester’s wage claims. The de
14           minimis defense clearly qualified, given that the Court previously granted
15           summary judgment, agreeing with Starbucks that the federal de minimis doctrine
16           barred Troester’s claims.
17           ECF No. 59 at 19:22-25.
18           While the Ninth Circuit reversed Judge Feess’ grant of summary judgment, this
19   Court granted summary adjudication on the claim for section 203 penalties because: “it
20   was reasonable for Starbucks to assert that it did not owe any wages under the de
21   minimis doctrine.” Troester v. Starbucks Corp., 387 F.3d 1019, 1030 (C.D. Cal. 2019).
22           However, if it were to be the case as Starbucks now claims, that it always had the
23   ability to pay for the time at issue, and in fact did so in many cases, then its failure to
24   pay Troester and other class members who were not paid was not in good faith. As sets
25   forth herein, the evidence in fact shows that during the class period, class members were
26   required to work off-the-clock during the store closing procedure. And Starbucks
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 1   presents no evidence that its STAR system in fact permitted clocking out after the store
 2   close procedure had been done.1
 3         In fact, in order for Starbucks to even use the de minimis defense as a good faith
 4   dispute which precludes liability for section 203 penalties, Starbucks has to have at the
 5   time of nonpayment conducted a reasonable inquiry to support its determination that the
 6   time was de minimis and therefore non-compensable. See Maldonado v. Epsilon
 7   Plastics, Inc., 22 Cal.App.5th 1308, 1332-1333 (2018) (affirming award of section 203
 8   penalties where employer had subjective belief that it had paid all wages but had done
 9   no investigation into the underlying facts). If Starbucks is now asserting that the facts its
10   de minimis defense was based on were not in fact accurate, this warrants the Court sua
11   sponte requesting briefing on reconsideration of the grant of summary adjudication.
12
13   IV.   Starbucks’ Claim That Declarants “Recanted” Is False. In Fact, the
14   Testimony of Declarants Supports Plaintiff’s Theories.
15         Starbucks in opposing class certification complains that Plaintiff only submitted
16   five putative class member declarations and that two of those putative class members
17   have “recanted”.
18         The claim that two putative class members “recanted” is false. It appears to be
19   based on the deposition testimony of Blake Barnett and Amanda Barb. When that
20   deposition testimony is examined, it becomes clear that neither “recanted”.
21         As to Mr. Barnett, he stated that after being subpoenaed a coworker searched for
22   information about the lawsuit on Google and sent him an article about the case. Barnett
23   Tr. 49:18-24. Segal Decl. Exh. 1. After reading the article, he became angry about the
24   lawsuit: “From what I recall, you had two types of employees, the ones that you knew
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              While it is not necessary for this Court to decide the issue in ruling on class
     certification, the doctrine of judicial estoppel bars Starbucks from contradicting its prior
27   position. E.g., New Hampshire v. Maine, 532 U.S. 742, 749 (2001): “This rule, known
     as judicial estoppel, generally prevents a party from prevailing in one phase of a case on
28   an argument, and then relying on a contradictory argument to prevail in another phase.”
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 1   loved what they were doing and the ones that just wanted to get out of the store. And
 2   when I read that article, that picture, to me, was someone that just wanted to get out of
 3   the store.” Barnett Tr. 50:19-25. Mr. Barnett then testified, which Starbucks seizes
 4   upon, that he was paid for al time he worked at Starbucks. However, his later testimony
 5   makes clear that this was not based on his actual present recollection of what occurred
 6   but instead his subsequent experiences at other employers:
 7         “Understanding of how the – how managers work in corporate businesses.
 8         Starbucks – you know, I worked at In-N-Out Burger right after. The procedures
 9         were almost identical. My own manager now at Microsoft, the procedures are
10         identical. You always want to keep track of time, and maybe during that time, I
11         wasn’t paying attention to our manager’s writing in our logbooks, so I just
12         assumed it never happened. But now that I look back at it, they were always
13         writing, always having me sign something.”
14         Barnett Tr. 68:5-17.
15         In fact, Mr. Barnett stated that he was not sure whether he was paid for the time at
16   issue. “Q. Do you know if your managers actually entered the off-the-clock time that
17   you worked? A. No, I don’t know for sure. I don’t recall. Q. And do you know if you
18   were actually compensated for the time you worked off the clock while a Starbucks
19   employee? A. I don’t recall to be honest, no.” Barnett Tr. 69: 5-19.
20         As to Amanda Barb, she initially testified at her deposition that she would
21   perform the store close process after clocking out. “Q. And then you also mentioned the
22   close store procedure which was done on the computer? A. Yes. Q. Where was that in –
23   in that order? A. I would do that after the money section, and no. I had to do that right
24   after we logged out. Q. After clocking out? A. Yes.” Barb Tr. 22:13-22. Segal Decl.
25   Exh. 2. Ms. Barb offered contradictory testimony in response to defense counsel
26   showing her a 2006 Starbucks document purportedly stating that employees should
27   clock out after doing the store close procedure. Barb. Tr. 25:8-15. She later testified
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 1   that “I can remember doing it both ways.” Barb Tr. 60:23-24. This is completely
 2   consistent with the testimony of Douglas Troester who testified that it was after the
 3   introduction of new software that shift supervisors had to clock out before performing
 4   the store closing procedures. Troester Tr. 130:18-131:1. Segal Decl. Exh. 3. Therefore,
 5   there was a time period when the store close process occurred on the clock, and a time
 6   period when it occurred off the clock.
 7         And the third declarant deposed by Starbucks also confirmed that the store close
 8   procedure occurred off the clock. Declarant Shanelle Ashby testified that: “We would
 9   have to close down – before we closed down the store on the portal, we would have to
10   sign out.” Ashby Tr. 39:17-19. Segal Decl. Exh. 4. “Q. So when you were shift
11   supervisor – I just want to make sure I got that. So everyone would clock out. Then you
12   went to the computer? A. Yes. Q. And you closed the store down on the portal. A. Yes.
13   Q. And then you would set the alarm? A. Yes.” Ashby Tr. 40:3-11. “Q. And it was your
14   understanding that you had to clock out before you ran that process on the computer,
15   right? A. Yes. Q. How did you learn that? A. I learned it in training.” Ashby Tr. 40:14-
16   20.
17   V.    Starbucks’ Declarants Do Not Prove What They Claim.
18         Starbucks attempts to support its assertion that it could and did pay for the time
19   spent on the store closing procedure with declarations from twenty current Starbucks
20   employees.
21         Notably, 12 of the current employee declarants state that they have no
22   recollection of doing the store closing procedure. Arias Decl. ¶ 8; Batey-Ulbade Decl. ¶
23   8; Ceja Decl. ¶ 9; DeLeon Decl. ¶ 9; Figueroa Decl. ¶ 8; Gomez Decl. ¶ 8; Lyons Decl.
24   ¶ 9; Ramirez Decl. ¶ 8; E. Rodriguez Decl. ¶ 10; L. Rodriguez Decl. ¶ 8; Villagomez
25   Decl. ¶ 9; Legaspie Decl. ¶ 7. Two of the current employee declarants, Nubia Villeda,
26   and Victor Viramontes do not testify about the store close procedure at all. Declarant
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 1   Clara Luna (who is apparently an exempt manager and not a putative class member)
 2   also does not mention the store close procedure.
 3         Five Starbucks declarants testify that they remember the store close procedure
 4   and it occurred on the clock, but their testimony is vague as to what time period they are
 5   referring to. Declarant Christopher Coye states that he remembers the store close
 6   procedure from “many years ago” and it occurred on the clock. Coye Decl. ¶ 5. Notably,
 7   it appears that during the time period of this case, Mr. Coye may have been a manager
 8   and not an hourly employee putative class member. Coye Decl. ¶ 2 (stating that he
 9   began work at Starbucks in 1998, then worked for two years in Orange County, then for
10   two years in Los Angeles, then worked as a manager at the Santa Monica and Fairfax
11   store for 10 years.) Therefore, it appears Mr. Coye was a manager from approximately
12   2002 to 2012 meaning he never worked a closing shift as an hourly employee during the
13   class period of this case.
14         Declarant Don Jenkins also states that he “vaguely” recalls the procedure from
15   “many years ago” and that it was done on the clock. Jenkins Decl. ¶ 5. However, it
16   appears that he may have worked outside California on the East Coast for the time
17   period of this case. Jenkins Decl. ¶ 2. It is unclear that he ever worked a closing shift in
18   California during the class period.
19         Declarant Eddie Necochea similarly testifies that he “vaguely” recalls the
20   procedure from “many years ago” and that it occurred on the clock. Necochea Decl. ¶ 5.
21   8.
22         Declarant Roy Dominguez similarly testifies that he “vaguely” recalls that “many
23   years ago” he had to do work on a computer as part of the closing tasks, and this
24   occurred on the clock. Dominguez Decl. ¶ 5.
25         Declarant Oscar Cardona recalls doing the close store procedure from around
26   2004 until around 2009 to 2010 and his recollection he did it before clocking out.
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 1   Cardona Decl. ¶ 8. Cardona is the only one of Starbucks’ declarants who has a clear
 2   recollection of doing the close store procedure during the time period of this case.
 3         In summary then, of twenty (20) current employee putative class member
 4   declarants, twelve (12) fail to remember the store close procedure at all. (Importantly,
 5   Starbucks admits that there was such a procedure.) Three (3) do not mention the store
 6   close procedure in their declaration. Three (3) state that they vaguely recall the store
 7   close procedure but do not estimate the time period when it occurred except to state that
 8   it was “many years ago”. One (1) declarant recalls the store close procedure but does
 9   not estimate the time period when it occurs except to state that it was “many years ago.”
10   Only one (1) of Starbucks’ declarants can recall doing the close store procedure during
11   the class period.
12         This evidence is hardly convincing in support of Starbucks’ new position that
13   class members could clock out after running the store close process. Were that really
14   true Starbucks could and would have provided much better evidence of it. As the Ninth
15   Circuit has said: “Where stronger evidence of a fact is available, weaker evidence
16   becomes even more so.” Moster v. Stonefield Josephson, Inc., 815 F.3d 1161, 1170 (9th
17   Cir. 2015).
18   VI.   Common Issues Predominate Regarding The “Off-the-Clock” Claim.
19         Starbucks’ argues that individualized issues predominate over common ones
20   because of the need to identify the frequency and duration of the off the clock work. It is
21   undisputed that off-the-clock work occurred on closing shifts. For example, Starbucks
22   manager Cecilia Cerna testified that she was not paid for closing tasks, and that
23   Starbucks was aware of it:
24         Q. You were not paid for the closing tasks to take – from the time you clock out
25         until you alarm the system correct?
26         A. Yes.
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                         REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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 2         Q. You were not paid for the closing tasks of arming the system and leaving the
 3         store with all partners correct?
 4         A. Correct.
 5         Q. You were not paid for the closing task to double-check that all doors are locked
 6         when leaving the store, correct?
 7         A. Correct.
 8         Q. You were not paid for the closing task of walking the partners to their vehicles,
 9         correct?
10         A. Correct.
11         Cerna Tr. 38:24-39:13. Setareh Decl. Exh. 3.
12         Cerna also testified that Starbucks was aware of this unpaid closing work:
13         Q. And you were not paid for all of these steps that you’re required to do after
14         you clock out correct?
15         A. Correct.
16         Q. And the company is aware that you’re doing all of these steps after you clock
17         out, correct?
18         A. Yes.
19         Q. And the company has never offered to pay you for any of this time?
20         A. No.
21         Cerna Tr. 41:8-19. Setareh Decl. Exh. 3.
22         Since it is undisputed that during the class period, shift supervisors pursuant to
23   Starbucks’ practices worked uncompensated time on closing shifts, Starbucks’
24   arguments about individualized issues go to damages not to liability.
25         It is of course, well settled that differences in damages do not defeat certification.
26   As the Ninth Circuit has said:
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                           REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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 1   In a wage and hour case, unlike in an antitrust class action, the employer-defendant’s
 2   actions necessarily caused the class members’ injury. Defendants either paid or did not
 3   pay their sales associates for work performed. No other factor could have contributed to
 4   the alleged injury. Therefore, even if the measure of damages proposed here is
 5   imperfect, it cannot be disputed that the damages (if any are proved) stemmed from
 6   Defendants’ actions. . . .
 7         Our precedent is well settled on this point. In Yokoyama, we held that ‘damage
 8         calculations alone cannot defeat certification. 594 F.3d at 1094. That is, the
 9         ‘amount of damages is invariably an individual question and does not defeat class
10         action treatment.’ Id. (quoting Blackie v. Barrack, 524 F.2d 891, 905 (9th Cir.
11         1975)). We have repeatedly confirmed the Yokoyama holding that the need for
12         individualized findings as to the amount of damages does not defeat class
13         certification.
14         Vaquero v. Ashley Furniture Industries, Inc., 824 F.3d 1150, 1154-1155 (9th Cir.
15         2016).
16         As the Ninth Circuit recently said in affirming a class-wide award of damages for
17   off-the-clock work: “Once the jury found that Wal-Mart owed minimum wages to
18   drivers for layovers, rest breaks, and inspections, the varying amount of time truckers
19   spent doing these tasks went to the question of damages.” Ridgeway v. Walmart Inc.,
20   2020 WL 55073 *15 (9th Cir. January 6, 2020). “Despite variations, which are common
21   in class action damage calculations, introduction of the representative sample and
22   representative testimony was proper because plaintiffs had no other practicable way to
23   prove how much Wal-Mart owed them.” Id. at *18.
24         Any issue regarding identification of who is entitled to damages for off-the-clock
25   work and how much they are owed is a result of Starbucks’ failure to keep legally
26   required records. California employers are regulated by wage orders issued by the
27   Industrial Welfare Commission that have “equal dignity” with statutes. Kilby v. CVS
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                                                  12.
                         REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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 1   Pharmacy Inc., 63 Cal.4th 1, 11 (2016). Wage Order No. 5 for the Public Housekeeping
 2   Industry provides that: “Every employer shall keep accurate information with respect to
 3   each employee including the following: . . . Time records showing when the employee
 4   begins and ends each work period . . . [T]otal daily hours worked shall also be
 5   recorded.” Wage Order No. 5, § 7(A)(3). Further, California Labor Code § 1174(d)
 6   provides that: “Every person employing labor in this state shall: . . . Keep . . . payroll
 7   records showing the hours worked daily by . . . employees . . ..”
 8         In this very case, the California Supreme Court recognized that the employer may
 9   not shift this record-keeping obligation to employees:
10          We recognize that one of the main impetuses behind the de minimis doctrine in
11          wage cases is the practical administrative difficulty of recording small amounts of
12          time for payroll purposes . . But employers are in a better position than employees
13          to devise alternatives that would permit the tracking of small amounts of regularly
14          occurring work time. One such alternative . . . [is] to restructure the work so that
15          employees would not have to work before or after clocking out. . . . And even
16          when neither a restructuring of work nor a technological fix is practical, it may be
17          possible to reasonably estimate work time. . . . Under the circumstances of this
18          case, we decline to adopt a rule that would require the employee to bear the entire
19          burden of any difficulty in recording regularly occurring work time.”
20          Troester v. Starbucks Corp., 5 Cal.5th 829, 848 (2018).
21         Importantly, as many courts have recognized a defendant employer such as
22   Starbucks cannot be allowed to evade liability to a class of employees on the basis that
23   it failed to record off-the-clock work. Hernandez v. Mendoza, 199 Cal.App.3d 721, 727
24   (1988): “Where the employer has failed to keep records required by statute, the
25   consequence for such failure should fall on the employer, not the employee.”; see also
26   Cicairos v. Summit Logistics, Inc., 133 Cal.App.4th 949, 962 (2005)
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                         REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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 1   District courts in California have certified cases based on the inadequacy of records.
 2   E.g, Wilson v. TE Connectivity Networks, Inc., No., 2017 WL 1758048, at *7 (N.D. Cal.
 3   Feb. 9, 2017) (class certified where “Plaintiff contends that Defendants' policy of
 4   automatically deducting thirty minutes from certain employees' paychecks violates their
 5   obligation to provide and keep records of meal breaks and is susceptible to common
 6   proof.”) Understandably silent about its record-keeping violations, Starbucks is, in
 7   essence, using its violation to avoid consequences, including certification and liability.
 8   Dynabursky v. AlliedBarton Sec. Servs. LP, No. 8:12-CV-2210-JLS, 2014 WL 1654030,
 9   at *4 (C.D. Cal. Apr. 24, 2014) (“Decertifying the class simply because Defendant
10   failed to keep accurate records would frustrate the purpose of the Wage Order and
11   related wage and hour laws.”). Dilts v. Penske Logistics, LLC, 2013 WL 12095057 *3
12   (S.D. Cal. 2016) (“Plaintiffs contend, and the Court agrees, that they should not be
13   penalized because Penske failed to maintain records of meal periods, despite the
14   requirement to do so under the applicable Wage Order . . . .”).
15          The result should be no different here. Starbucks failed to record regularly
16   occurring off-the-clock work and should not be able to avoid liability.
17          Nor is it a barrier to class certification if class members ultimately must make
18   some kind of individualized showing of entitlement to damages. As the California
19   Supreme Court has said: “Predominance is a comparative concept, and the necessity for
20   class members to individually establish eligibility and damages does not mean
21   individual fact questions predominate.” Sav-On Drug Stores, Inc. v. Superior Court, 34
22   Cal. 4th 319, 334-335 (2005). As the Ninth Circuit has held, there is no requirement for
23   class certification that “class proponents must also demonstrate that there is an
24   administratively feasible way to determine who is in the class.” Briseno v. ConAgra
25   Foods, Inc., 844 F.3d 1121, 1124-1125 (9th Cir. 2017). “Rule 23 specifically
26   contemplates the need for such individualized claim determinations after a finding of
27   liability. Id. at 1131.
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                          REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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 1   Starbucks stubbornly maintains that a de minimis defense of some kind still exists under
 2   California law and that the possible existence of a such a defense precludes certification.
 3   This flies in the face of what the California Supreme Court held: “We further conclude
 4   that although California has a de minimis rule that is a background principle of state
 5   law, the rule is not applicable to the regularly reoccurring activities that are principally
 6   at issue here.” Troester supra at 848. Under the law of the case doctrine, Starbucks
 7   cannot now relitigate that determination. “The decision of an appellate court, stating a
 8   rule of law necessary to the decision of the case, conclusively establishes that rule and
 9   makes it determinative of the rights of the same parties in any subsequent retrial or
10   appeal in the same case.” Nally v. Grace Community Church, 47 Cal.3d 278, 301
11   (1988).
12          Whether a de minimis defense is nonetheless available under California law is a
13   common question. Further, as courts have repeatedly recognized the applicability of any
14   such defense is inherently a common issue. Moore v. Ulta Salon Cosmetics &
15   Fragrance, Inc., 311 F.R.D. 590, 604 (C.D. Cal. 2015): “Even assuming that defendant
16   has not waived the de minimis defense, evaluating it will require answering a number of
17   common questions.”; Rai v. Santa Clara Valley Transportation Authority, 308 F.R.D.
18   245, 259 (N.D. Cal. 2015): “VTA’s defense that Plaintiff’s engage in only de minimis
19   activities for which they are not entitled to compensation does not preclude class
20   treatment because analysis of this defense requires resolution of a common issue of law
21   not an individualized inquiry into each operator’s activities.”; Greer v. Dicks Sporting
22   Goods, Inc., 2017 WL 1354568 *7 (E.D. Cal. 2017): “Even if DSG is right that the de
23   minimis doctrine applies, there would be common questions regarding whether the class
24   has satisfied the requirements of the de minimis doctrine.”
25   VII. Starbucks Arguments Concerning the Claims for Penalties are Meritless.
26         Starbucks argues that because Plaintiff Troester’s claim for penalties under Labor
27   Code section 226 is time-barred, he is not typical for purposes of a wage statement
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 1   penalties claim and cannot seek such penalties for the class. Importantly, if Troester
 2   proves that unpaid wages are owed, Troester will have proved that the hours stated on
 3   the wage statements are inaccurate. There is no argument that his wage statements were
 4   accurate, but class members had inaccurate wage statements. He suffered the same
 5   injury as the class. His interests are aligned with the class. His claim arises from the
 6   same course of conduct. “A plaintiff’s claim is typical if it raises from the same event or
 7   practice or course of conduct that gives rise to the claims of other class members and his
 8   or her claims are based on the same legal theory.” Keele v. Wexler, F.3d 589, 595 (7th
 9   Cir. 1998). Hanlon v. Chrysler Corp., 150 F.3d 1011, 1030 (9th Cir. 1998):
10   “Representative claims are ‘typical’ if they are reasonably co-extensive with those of
11   absent class members; they need to be substantially identical.”
12         The authorities relied on by Starbucks are not to the contrary. For example, in
13   Britton v. ServiceLink Field Services, LLC, 2019 WL 3400683 (E.D. Wa. 2019) was a
14   wrongful foreclosure case on behalf of borrowers who were unlawfully locked out of
15   their homes. The named plaintiffs, however, had not actually been locked out of their
16   homes. Therefore, they had not suffered the same injury as the majority of class
17   members (the loss of occupancy and therefore the rental value of the home) and were
18   not typical. Rodriguez v. Gates, 2002 WL 1162675 **7-8 (C.D. Cal. 2002) was a civil
19   rights class action where the plaintiff sought to represent “all persons whose rights
20   under the United States Constitution were violated by the Rampart Division CRASH
21   Unit Officers from 1990 through the present.” Id. at *7. The district court unsurprisingly
22   held that Plaintiff who claimed malicious prosecution and falsification of evidence
23   would not be typical of class members who had a claim under, for example, the First
24   Amendment.
25         Starbucks also attempts to resurrect its de minimis defense by arguing that no
26   penalties should be awarded if the inaccuracies in the wage statements are minor.
27   Starbucks cites to no case holding that this is a defense to an inaccurate wage statement
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 1   claim. Starbuck cites to Maldonado supra at 1337. However, the holding of Maldonado
 2   is inapplicable to this case. Maldonado hold that there is no injury to support a claim for
 3   section 226 penalties, where the hours worked are accurate: “Only the absence of the
 4   hours worked will give rise to an inference of injury; the absence of accurate wages
 5   earned will be remedied by the violated wage and hour law itself, as is the case here.”
 6   Id. at 1336-1337. Here, the issue is that the hours worked were not accurately recorded.

 7   It is exactly the situation where injury is presumed under Maldonado, because the wage

 8   statements prevented class members from seeing if they were paid for all hours worked.
     And, in making this argument to defeat certification, Starbucks is again attempting to
 9
     use its own failure to keep legally required records as a defense.
10
     VIII. Conclusion.
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           All elements for class certification are met. The motion should be granted.
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                                             SETAREH LAW GROUP
16
                                             BY /s/ Shaun Setareh
17   Dated: January 13, 2020                 SHAUN SETAREH
                                             Attorneys for Plaintiff
18                                           DOUGLAS TROESTER
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 1                              CERTIFICATE OF SERVICE
 2       I hereby certify that on this 13th of January 2020 a true and correct copy of the
 3   foregoing document was filed via the court’s CM/ECF filing system and a copy was
 4   delivered via the same on all attorneys of record.
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 6
 7                                               /s/ Shaun Setareh
                                            SHAUN SETAREH
 8
                                            Attorneys for Plaintiff
 9                                          DOUGLAS TROESTER
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